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                         EXHIBIT “1”
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         U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                   Los Angeles District Office
                                                                                  255 East Temple St, 4th Floor
                                                                                       Los Angeles, CA 90012
                                                                                               (213) 785-3090
                                                                                      Website: www eeoc.gov


                        DISMISSAL AND NOTICE OF RIGHTS
                    (This Notice replaces EEOC FORMS 161, 161-A & 161-B)

                                        Issued On: 12/28/2023
 To: Mr. Brian A. Beneker
     1003 S. Sierra Bonita Avenue, #3
     Los Angeles, CA 90019
 Charge No: 480-2024-01332
 EEOC Representative and email:       GARRETT HOOVER
                                      CRTIU Supervisor
                                      garrett.hoover@eeoc.gov


                                    DISMISSAL OF CHARGE

 The EEOC has granted your request that the agency issue a Notice of Right to Sue, where it is
 unlikely that EEOC will be able to complete its investigation within 180 days from the date the
 charge was filed.
 The EEOC is terminating its processing of this charge.

                              NOTICE OF YOUR RIGHT TO SUE

 This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
 you choose to file a lawsuit against the respondent( s) on this charge under federal law in federal
 or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
 Receipt generally occurs on the date that you (or your representative) view this document. You
 should keep a record of the date you received this notice. Your right to sue based on this charge
 will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
 based on a claim under state law may be different.)
 If you file a lawsuit based on this charge, please sign in to the EEOC Public Portal and upload the
 court complaint to charge 480-2024-01332.

                                                On behalf of the Commission,

                                                Digitally Signed By:Christine Park-Gonzalez
                                                12/28/2023
                                                Christine Park-Gonzalez
                                                District Director
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                                             #:235


 Cc:
 Tim Farrell
 CBS Paramount
 4024 Radford Avenue
 N Hollywood, CA 91604

 Incident Location
 CBS Paramount
 4024 Radford Avenue
 N Hollywood, CA 91604

 John W Howard
 JW Howard/Attorneys
 600 West Broadway Suite 1400
 San Diego, CA 92101


 Please retain this notice for your records.
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 Enclosure with EEOC Notice of Closure and Rights (01/22)




                                INFORMATION RELATED TO FILING SUIT
                               UNDER THE LAWS ENFORCED BY THE EEOC
  (This information relates to filing suit in Federal or State court under Federal law. If you also
 plan to sue claiming violations of State law, please be aware that time limits may be shorter and
            other provisions of State law may be different than those described below.)

 IMPORTANT TIME LIMITS - 90 DAYS TO FILE A LAWSUIT

 If you choose to file a lawsuit against the respondent( s) named in the charge of discrimination,
 you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
 generally means the date when you (or your representative) opened this email or mail. You should
 keep a record of the date you received this notice. Once this 90-day period has passed, your
 right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
 attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
 your receiving it (email or envelope).
 If your lawsuit includes a claim under the Equal Pay Act (EPA), you must file your complaint in
 court within 2 years (3 years for willful violations) of the date you did not receive equal pay. This
 time limit for filing an EPA lawsuit is separate from the 90-day filing period under Title VII, the
 ADA, GINA, the ADEA, or the PWFA referred to above. Therefore, if you also plan to sue under
 Title VII, the ADA, GINA, the ADEA or the PWFA, in addition to suing on the EPA claim, your
 lawsuit must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.

 Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
 Whether you file in Federal or State court is a matter for you to decide after talking to your
 attorney. You must file a "complaint" that contains a short statement of the facts of your case
 which shows that you are entitled to relief. Filing this Notice is not enough. For more information
 about filing a lawsuit, go to https://www.eeoc.gov/employees/lawsuit.cfm.
 ATTORNEY REPRESENTATION

 For information about locating an attorney to represent you, go to:
 https://www.eeoc.gov/employees/lawsuit.cfm.
 In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
 who demonstrate that they are financially unable to afford an attorney.

 How TO REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS
 There are two ways to request a charge file: 1) a Freedom of Information Act (FOIA) request or
 2) a "Section 83" request. You may request your charge file under either or both procedures.
 EEOC can generally respond to Section 83 requests more promptly than FOIA requests.
 Since a lawsuit must be filed within 90 days of this notice, please submit your FOIA and/or
 Section 83 request for the charge file promptly to allow sufficient time for EEOC to respond and
 for your review.
 To make a FOIA request for your charge file, submit your request online at
 https://eeoc.arkcase.com/foia/portal/login (this is the preferred method). You may also submit a
 FOIA request for your charge file by U.S. Mail by submitting a signed, written request
 identifying your request as a "FOIA Request" for Charge Number 480-2024-01332 to the
Case 2:24-cv-01659-JFW-SSC                         Document 45-1   Filed 06/10/24   Page 5 of 5 Page ID
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 Enclosure with EEOC Notice of Closure and Rights (01/22)




 District Director at Christine Park-Gonzalez, 255 East Temple St 4th Floor, Los Angeles, CA
 90012.

 To make a Section 83 request for your charge file, submit a signed written request stating it is
 a "Section 83 Request" for Charge Number 480-2024-01332 to the District Director at Christine
 Park-Gonzalez, 255 East Temple St 4th Floor, Los Angeles, CA 90012.

 You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After
 the 90 days have passed, you may request the charge file only if you have filed a lawsuit in court
 and provide a copy of the court complaint to EEOC.
 For more information on submitting FOIA requests, go to
 https://www.eeoc.gov/eeoc/foia/index.cfm.
 For more information on submitted Section 83 requests, go to https://www.eeoc.gov/foia/section-
 83-disclosure-information-charge-files.
